          Case 2:05-cv-04182-SRD-JCW Document 21310-4 Filed 09/28/15 Page 1 of 1

     DEC-05-2006 TUE 06:59 flW CapililOie Kd.                              Fl« NO, 9720164800                        P. 02/32


                                insurance adjusting contract
                                           BRUNO & BRUNO, LX.P.
                APARTNERSHIP OF PROFESSIONAL LAW CORPORATIONS
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related medical expenses, longdistwce telephone          rl^niEE md ONE THIRD PERCENT (33 1/3%) ofmyclaim to my
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 hiring the LawFirm.
          3.Ibineoi.timdiadn.wninaeeordanoewilhlhepmvialonaofLnoisl«»Uweomainedm(LS.37:2l8andCivilCede
  Article 3028.

          Ihave read overAiND FUELY UHMRSTAM) THE ABOVE CONTRAfn- AND HAVEBEEN
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